Case 2:15-bk-05399-FMD Doc11 Filed 06/05/15 Page 1 of 39

B6 Summary (Official Form 6 - Summary) (12/14)

United States Bankruptcy Court
Middle District of Florida

In re Kimberly Helen Wood-Staples Case No. __9:15-bk-05399
Debtor

 

Chapter. 43

SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
B, D, £, F, 1, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
also complete the “Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.

 

 

  

 

 
  

 

 

   

 

  

 

 
  

 

 

 

 

  

 

 

 
  

 

 

 

 

         

 

 

 

NAME OF SCHEDULE ATTACHED | NO. OF ASSETS LIABILITIES OTHER
(YES/NO) SHEETS
A - Real Property Yes 1 12,750.00
B - Personal Property Yes 4 52,579.37
C - Property Claimed as Exempt Yes 1
D - Creditors Holding Secured Claims Yes 1 104,975.73
E - Creditors Holding Unsecured Yes 1 6.00
Priority Claims (Total of Claims on Schedule E}
F - Creditors Holding Unsecured Yes 3 21,698.00
Nonpriority Claims
G - Executory Contracts and Yes 1
Unexpired Leases
H - Codebtors Yes 1
I- Current Income of Individual Yes 2 1,474.81
Debtor(s)
J - Current Expenditures of Individual Yes 2 1,910.00
Debtor(s}
Total Number of Sheets of ALL Schedules 17
Total Assets 65,329.37
Total Liabilities 126,673.73

 

 

 

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B 6 Summary (Official Form 6 - Summary) (12/14)

United States Bankruptcy Court
Middle District of Florida

Ja re Kimberly Helen Wood-Staples Case No.___9:15-bk-05399
Debtor

 

Chapter 13

STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C, § 159)

If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
a case under chapter 7, 11 or 13, you must report all information requested below.

O Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
report any information here.

This information is for statistical purposes only under 28 U.S.C, § 159,
Summarize the following types of liabilities, as reported in the Schedules, and total them.

 

 

 

 

 

 

 

 

 

 

 

 

Type of Liability Amount
Domestic Support Obligations (from Schedule E) 0.00
Taxes and Certain Other Debts Owed to Governmental Units 0.00
(from Schedule E) .
Claims for Death or Personal Injury While Debtor Was Intoxicated 0.00
(from Schedule E) (whether disputed or undisputed) .
Student Loan Obligations (from Schedule F) 0.00
Domestic Support, Separation Agreement, and Divorce Decree 0.00
Obligations Not Reported on Schedule E ‘
Obligations to Pension or Profit-Sharing, and Other Similar Obligations 0.00
(from Schedule F) .
TOTAL 0.00
State the following:
Average Income (from Schedule 1, Line 12) 1,474.81
Average Expenses (from Schedule J, Line 22) 1,910.00
22A-1 Li ;
Current Monthly Income (from Form 22A-1 Line 11; OR, 1,609.00

Form 22B Line 14; OR, Form 22C-1 Line [4 )

 

State the following:
1. Total from Schedule D, “UNSECURED PORTION, IF ANY”

 

 

 

 

 

 

 

 

 

column : 0.00
2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY” 0.00
column .
3, Total from Schedule E, "AMOUNT NOT ENTITLED TO 0.00
PRIORITY, IF ANY" column ‘
4. Total from Schedule F 21,698.00
5. Total of non-priority unsecured debt (sum of 1, 3, and 4) 21,698.00

 

 

 

 

 

 

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B6A (Official Form 6) (12/07)

In re Kimberly Helen Wood-Staples Case No.___9:15-bk-05399
Debtor

 

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H," "W,"
"J," or "C" in the column labeled “Husband, Wife, Joint, or Community." [f the debtor holds no interest in real property, write "None" under
"Description and Location of Property.”

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims io hold a secured interest in the property, write "None" in the column labeled “Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

 

 

 

Husband peqiment value of
as . Nature of Debtor's Wife, ° edtors Interest in Amount of
Description and Location of Property Interest in Property Joint, or Dede oT ed Secured Claim
Community “Claim or Exemption

Vacant Lot iocated at: Fee simple - 12,750.00 2,843.73
1152 Rotonda Circle

Rotonda West, FL 33945

Sub-Total > 12,750.00 (Total of this page)

Total > 12,750.00

0 continuation sheets attached to the Schedule of Real Property (Report also on Summary of Schedules)

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B6B (Official Form 6B) (12/07)

In re Kimberly Helen Wood-Staples Case No.__9:15-bk-05399
Debtor

 

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11] U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

 

 

x Husband, Deb Current Value ef
ws : ife, ebtor's Interest in Property,
Type of Property N Description and Location of Property Joint, or without Deducting any
E Community Secured Claim or Exemption
1. Cash on hand cash on hand - 500.00
2. Checking, savings or other financial Englewood Checking xx107 J 29.37
accounts, certificates of deposit, or
shares in banks, savings and loan,
thrift, building and loan, and
homestead associations, or credit
unions, brokerage houses, or
cooperatives,
3. Security deposits with public x
utilities, telephone companies,
jJandlords, and others.
4. Household goods and farnishings, Living Room: couch, 3 bookcases, 2 chairs, 2 tables, J 1,750.00
including audio, video, and tv. .
computer equipment. Dining Room: table, 6 chairs, buffet.
Bedrooms: 3 beds, 3 dressers, mirror, lamp, tv.
Kitchen: table, 6 chairs, microwave, refrigerator,
dishwaher, wshing machine, dryer, stove, dishes,
cookware,
Other Rooms: computer, vacuum cleaner, iron, tools,
patio furniture, grill.
5. Books, pictures and other art x

objects, antiques, stamp, coin,
record, tape, compact disc, and
other collections or collectibles.

6. Wearing apparel. clothing - 100.00
7. Furs and jewelry. misc. jewelery - 200.00
8. Firearms and sports, photographic, x

and other hobby equipment.

9, Interests in insurance poiictes. x
Name insurance company of each
policy and itemize surrender or
refund value of each.

 

Sub-Total > 2,579.37
(Total of this page)

3 continuation sheets attached to the Schedule of Personal Property

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Case 2:15-bk-05399-FMD Doc11 Filed 06/05/15 Page 5 of 39

B6B (Official Form 6B) (12/07) - Cant.

In re Kimberly Helen Wood-Staples Case No. ___9:15-bk-05399
Debtor

 

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet}

 

 

x Husband, Deb Current Value of
_ . ife, ebtor's Interest in Property,
Type of Property N Description and Location of Property Joint, or without Deducting any.
E Community Secured Claim or Exemption
10, Annuities. Itemize and name each x
issuer.
11. Interests in an education IRA as x
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately the
record(s) of any such interest(s}.
11 U.S.C. § 521(c).)
12. Interests in IRA, ERISA, Keogh, or NY State Teacher's Retirement Plan - 50,000.00
other pension or profit sharing
plans. Give particulars.
13. Stock and interests in incorporated 100% Interest in Kyra Corp. - 0.00
and unincorporated businesses.
Itemize. Assets: 13 Acres of Farm Land ($70,800)
Liabilities: County Property Taxes ($4,846); Blanket
Mortgage with Hollowbrock Associates ($650,000)
50% interest in Summer/Kim Corporation - 0.00
Assets: Real Property Located at: Section (20) Blk 1
Lot 140, Summer Drive, Newburgh, NY 12250
($259,000); and Section (20) Bik 1 Lot 4.43, Newburgh,
NW 12550 ($38,500)
Liabilities: County Property Taxes; Blanket morigage
with Hollowbrook Associates ($650,000)
14. Interests in partnerships or joint x

ventures. Itemize.

15. Government and corporate bonds x
and other negotiable and
nonnegotiable instruments.

16. Accounts receivable. Debtor is owed $150,000 from Hickory Shadow, Inc. - Unknown

Promissory note is secured by a mortgage on real
property owned by Hickory Shadow, Inc described as
Lot No. 13 of Filed Map No. 743-06 filed in the Orange
County’ Clerk's Office on Aug 11, 2006 (S-B-L 7-3-10;
7-3-13; and 7-3-18.

Hickory Shadow, Inc. has liabilities exceeding
$1,000,000; Debt is considered uncollectable.

 

Sub-Total > 50,000.00
(Total of this page)

Sheet 1 of 3 __ continuation sheets attached

to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) + Cont.

In re Kimberly Helen Wood-Staples Case No. __.9:15-bk-05399
Debtor

 

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

 

Husband, Current Value of
Type of Property Description and Location of Property Teint or Debtor's Interest de oe

Community Secured Claim or Exemption

 

x |) MZzOe

17. Alimony, maintenance, support, and
property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to debtor X
including tax refunds. Give particulars.

19. Equitable or future interests, life x
estates, and rights or powers
exercisable for the benefit of the
debtor other than those listed in
Schedule A - Real Property.

20. Contingent and noncontingent x
interests in estate of a decedent,
death benefit plan, life insurance
policy, or trust.

21. Other contingent and unliquidated x
claims of every nature, including
tax refunds, counterclaims of the
debtor, and rights to setoff claims.
Give estimated value of each,

22. Patents, copyrights, and other x
inteHectual property. Give
particulars.

23. Licenses, franchises, and other x
general intangibles. Give
particulars.

24, Customer lists or other compilations =X
containing personally identifiable
information (as defined in 11 U.S.C,

§ 101(41A)} provided to the debtor
by individuals in connection with
obiaining a product or service from
the debtor primarily for personal,
family, or household purposes.

25. Automobiles, trucks, trailers, and x
other vehicles and accessories.

26. Boats, motors, and accessories. x

27, Aircraft and accessories. x

 

Sub-Total > 0.00
(Total of this page)

Sheet 2. of .3__ continuation sheets attached

to the Schedule of Personal Property

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BOB (Official Form 6B) (12/07) Cont.

 

 

 

 

to the Schedule of Personal Property

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In re Kimberly Helen Wood-Staples Case No, __9:15-bk-05399
Debtor
SCHEDULE B - PERSONAL PROPERTY
(Continuation Sheet)
x Husband, Deb Current Value of
oo . ife, ebior's Interest in Property,
Type of Property N Description and Location of Property Joint, or without Deducting fay
E Community Secured Claim or Exemption
28. Office equipment, furnishings, and x
supplies.
29. Machinery, fixtures, equipment, and x
supplies used in business.
30. Inventory. x
31. Animals. x
32. Crops - growing or harvested. Give x
particulars.
33. Farming equipment and x
implements.
34. Farm supplies, chemicals, and feed. x
35. Other personal property of any kind x
not already listed. Hemize.
Sub-Total > 0.00
(Total of this page)
Total > 52,579.37
Sheet 3 of _3 __ continuation sheets attached

(Report also on Summary of Schedules)

Best Case Bankruptcy
Case 2:15-bk-05399-FMD Doc11 Filed 06/05/15 Page 8 of 39

B6C (Official Form 6C) (4/13)

Inte Kimberly Helen Wood-Staples Case No. __9:15-bk-05399
Debtor

 

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under: [1 Check if debtor claims a homestead exemption that exceeds
(Check one box} $155,675, (Amount subject to adjustment on 4/1/16, and every three years thereafter
CD 11 U.S.C. §522(b)2) with respect ta cases commenced an or after the date of adjustment)

i 11 U.S.C. §522(b)(3)

: wa Value of Current Value of
Deseription of Property Specity Law providing pe ctimed D Property Without
xemption educting Exemption

 

Gash on Hand
cash on hand Fla. Stat. Ann, § 222,25(4) 500.00 500.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Englewood Checking xx107 Fla. Const. art. X, § 4(a)(2) 29.37 29.37

Household Goods and Furnishings

Living Room: couch, 3 bookcases, 2 chairs, 2 Fia. Stat. Ann. § 222.25(4) 1,750.00 1,750.00
tables, tv.

Dining Room: table, 6 chairs, buffet.

Bedrooms: 3 beds, 3 dressers, mirror, lamp, tv.

Kitchen: table, 6 chairs, microwave, refrigerator,

dishwaher, wshing machine, dryer, stove, dishes,

cookware.

Other Rooms: computer, vacuum cleaner, iron,

tools, patio furniture, grill.

Wearing Apparel
clothing Fla. Const. art. X, § 4(a}(2) 100.00 100.00

Furs and Jewelry
misc. jewelery Fla. Stat. Ann. § 222.25f4) 200.00 200.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
NY State Teachers Retirement Plan Fla. Stat. Ann. § 222.21(2) 50,000.00 50,000.00

Stock and Interests in Businesses

100% Interest in Kyra Corp. Fla. Const. art. X, § 4{a}(2) 870.63 0.00
Fla. Stat. Ann. § 222.25(4} 1,550.00

Assets: 13 Acres of Farm Land ($70,860)

Liabilities: County Property Taxes ($4,846); Blanket
Mortgage with Hollowbrock Associates ($650,000)

 

Total: 55,000.00 52,579.37
0 continuation sheets attached to Schedule of Property Claimed as Exempt
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B6D (Official Form 6D) (12/07)

In re

Kimberly Helen Wood-Staples

Case No.

 

Debtor

9:15-bk-05399

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and

other security interests.

List creditors in alphabetical order to the extent practicable, If a minor child is a creditor, the child's initials and the name and address of the child's parent or
guardian, such as "A,B., a minor child, by John Dee, guardian." Do not disclose the child's name. See, [1 U.S.C. $112 and Fed. R. Bankr. P. 1007(m). If all secured
creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, siate whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an “H", "W", “J", or "C" in the column labeled “Husband, Wife, Joint, or Community”.

If the claim is contingent, place an “X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled “Unliqutdated”. IF the
claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)

Total the columns labeled "Amount of Claim Without Deducting Value of Collateral” and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Sammary of Certain Liabilities and Related Data.

(1 Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

C | Husband, Wile, Joint, or Community c)uro AMOUNT OF
' 3 Oo; NII
AN eee Ss DI} DATE CLAIM WAS INCURRED, NyLIs wine UNSECURED
INCLUDING ZIP CODE B |” NATURE OF LIEN, AND \}a/ul = pEDUCTING PORTION, IF
AND ACCOUNT NUMBER Pe Des Re opr eTY COE S|] &| VALUE OF ANY
(See instructions above.) R SUBJECT TO LIEN E P 6 COLLATERAL
Account No. xxxxx2540 Vacant Lot located at: q i
4152 Rotonda Circle D
Charlotte County Tax Rotonda West, FL 33945
Collector
18500 Murdock Circle _
Port Charlotte, FL 33948
Value § 12,750.00 843.73 0.00
Account No, xx-xx-xx0752 Secured by Real Property located at:
25 Medalist Way
Englewood Bank & Trust Rotunda West, FL 33947
4111S. McCall Road (Debtor is only on the mortgage; not the
Englewood, FL 34223 |. [Property)
Value $ 204,349.06 102,132.00 0.06
Account No. For Notice Purposes Only
Greentree Servicing
PO Box 6172
Rapid City, SD 57709 _
Value $ Unknown Unknown Unknown
Account No. Vacant Lot located at:
1152 Rotonda Circle
Rotunda West Association Rotonda West, FL 33945
3754 Cape Haze Drive
Rotonda West, FL. 33947 .
Value $ 12,750.00 2,000.00 0.00
Subtotal
Oo : : 4975.7 .
continuation sheets attached (Total of this page) 104,975.73 0.00
Total 104,975.73 0.00
(Report on Summary of Schedules}
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B6E (Official Form 6E} (4/13)

In re Kimberly Helen Wood-Staples Case No. _9:15-bk-05399
Debtor

 

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
continuation sheet for each type of priority and label each with the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
so. Ifa minor child is a creditor, state the child's initiais and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007{m).

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an "H," ""W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community.” If the claim is contingent, place an "X" in the
column labeled "Contingent." If the claim is unliquidated, place an “X" in the column labeled "Unliquidated.” If the claim is disputed, place an "X" in the column labeled
"Disputed." (You may need to place an '"X" in more than one of these three columns.)

Report the total of claims listed on each sheet in the box jabeled *Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
"Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
also on the Statistical Summary of Certain Liabilities and Related Data.

Report the total of amounts not entitled to priority listed on each sheet in the box [labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individuat debtors with primarily consumer debts report this
total also on the Statistical Summary of Certain Liabilities and Related Data.

EA Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es} below if claims in that category are listed on the attached sheets)

OO Domestic support obligations

Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
of such a child, or a governmental unit te whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a}(1).

C] Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
trustee or the order for relief. 11 U.S.C. § 507(a)(3).

C1 Wages, salaries, and commissions

Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
occurred first, to the extent provided in 11 U.S.C. § 507(a}(4}.

() Contributions te employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
whichever occurred first, to the extent provided in 1E ULS.C, § 507(a}(5).
E) Certain farmers and fishermen

Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C, § 507(a)(6).

C) Deposits by individuals
Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
delivered or provided, 1! U.S.C. § 507(a)(7).

{4 Taxes and certain other debts owed to governmental units
Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 1! U.S.C. § 507(a)}{8).

[] Commitments to maintain the capital of an insured depository institution

Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Govemors of the Federal
Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (aj(9).

[J Claims for death or personal injury while debtor was intoxicated

Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance. 1f U.S.C. § 507(a){10).

* Amount subject to adjustment on 401-16, and every three years thereafier with respect io cases commenced on or after the date of adjustment.
oO continuation sheets attached

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B6F (Official Form 6F} (12/07)

In re Kimberly Helen Wood-Staples

Case No.

 

Debtor

9:15-bk-05399

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and fast four digits of any account number, of all entities holding unsecured claims without priority against the
debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
trustee and the creditor and may be provided if the debtor chooses to do so. Ifa minor child is a creditor, state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr, P. 1007(m), Do not
include claims listed in Schedules D and £. If all creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,” include the entity on the appropriate
schedule of creditors, and complete Schedule H - Codebtors. Hf a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community.”

Hf the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Untiquidated." If the
claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Report the total of ail claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

C1 Cheek this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR'S NAME, g Husband, Wile, Joint, or Community 5 y &
INCLUDING ZIP CODE e/a] coRQTECKAIM WasINcURRED AND, |F)31E
: 8 TI .IFCLAIM |! ja/u .
AND ACCOUNT NUMBER He IS SUBJECT TO SETOFF, SO STATE. N|U| tT} AMOUNT OF CLAIM
(See instructions above.) R\c a
NIA
Account No. xxxx9401 Opened 12/0142 TIT
Collection Attorney Hsbc Bank Nevada o
Calvary Portfolto Svcs
Att: Bankruptcy Dept -
500 Summit Lake Dr. Ste 400
Valhalla, NY 10595
522.00
Account No. xxxx2845 Opened 7/01/13
Collection Attorney Erc/Directy Inc.
Enhanced Recovery Corp
Attention: Client Services -
8014 Bayberry Rd
Jacksonville, FL 32256
220.00
Account No. xxxx6736 Opened 5/01/14
Collection Attorney Comcast
ER Solutions
Convergent Outsourcing, Inc. -
PO Box 9004
Renton, WA 98057
253.00
Account No. Disputed Business Debt
Hollowbrock & Associates
c/o Robert Hankin XI- XXX
11 Cedar Pond Lane
Poughkeepsie, NY 12601
Unknown
. . Subtotal
2 continuation sheets attached (Total of this page) 995.00

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S/N:38081-150527 Best Case Sankruptcy
Case 2:15-bk-05399-FMD Doci11 Filed 06/05/15 Page 12 of 39

B6F (Official Form 6F) {12/07} = Cont,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

In re Kimberly Helen Wood-Staples Case No. ___9:15-bk-05399
Debtor
SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)
CREDITOR'S NAME g Husband, Wife, Joint, or Cormnunity 5 Q p
: D
OUD OP ONE E lw DATE CLAIM WAS INCURRED AND? [L/P
2 CONSIDERATION FOR CLAIM. IF CLAIM
AND ACCOUNT NUMBER Ts NyUT} AMOUNT OF CLAIM
(See instructions above.) Ole iS SUBJECT TO SETOFF, SO STATE. S VE
NIA
Account No. Ti
D
Household Finance Corp. If
Dunning Farms Shopping Cir -
Middletown, NY 10940
9,330.00
Account No. XxxXXxxxxxxxx8582 Opened 5/01/08 Last Active 5/42/11
Credit Card
Hudsn Heritage Credit Union
25 Rykowski Ln -
Middletown, NY 10944
5,292.00
Account No, xxxxxxx0091 Opened 5/01/08 Last Active 5/12/41
Credit Card
Hudson Heritage FCU
20 Orchard -
Middletown, NY 10940
5,292.00
Account No. xxxxxxxx7?874 Opened 8/01/99 Last Active 11/28/12
Home Equity Line Of Credit
Jpm Chase
Po Box 24696 -
Columbus, OH 43224
789.00
Account No. xxxx xx6203 Disputed Business Debt
Pre-Fab City, Inc.
11 Cedar Pond Lane Ai- X) XTX
Poughkeepsie, NY 12601
Unknown
Sheetno. 1 of 2 sheets attached to Schedule of Subtotal
Tyan dene 20,703.00

Creditors Holding Unsecured Nonpriority Claims

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(Total of this page)

 

 

Best Case Bankruptcy

 
Case 2:15-bk-05399-FMD Doci11 Filed 06/05/15 Page 13 of 39

B6F (Official Form 6F) (12/407) - Cont.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

In re Kimberly Helen Wood-Staples Case No. __8:15-bk-05399
Debtor
SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet}
CREDITOR’S NAME, 5 Husband, Wife, Jcint, or Community 5 N Dp
L{s
MAILING ADDRESS E | DATE CLAIM WAS INCURRED AND T(t fe
AND ACCOUNT NUMBER 8 |\'| CONSIDERATION FOR CLAIM. IF CLAIM |,/6/7] a MOUNT OF CLAIM
(See instructions above.) 9 c IS SUBJECT TO SETOFF, SO STATE. g I E
NLA
Account No. Disputed Business Debt TyT
D
Robert Hankin
14 Cedar Pond Lane Al- X) X| X
Poughkeepsie, NY 12601
Unknown
Account No.
Account No.
Account No.
Account No.
Sheetno. 2 of 2 sheets attached to Schedule of Subtotal 0.00
Creditors Holding Unsecured Nonpriorily Claims (Total of this page) ,
Total
21,698.00

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(Report on Summary of Schedules)

 

 

Best Case Bankruptcy

 
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B6G (Official Form 6G) (12/07)

in re Kimberly Helen Wood-Staples Case No. ___9:15-bk-05399

 

Debtor

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
of debtor's interest in contract, i.e. "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
complete mailing addresses of ail other parties io each lease or contract described. If a minor child is a party to one of the leases or contracts,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

EM Check this box if debtor has no executory contracts or unexpired leases.
Description of Contract or Lease and Nature of Debtor's Interest.

Name and Mailing Address, Including Zip Code, tate whether lease is for nonresidential real property,
of Other Parties to Lease or Contract State contract number of any government contract,

 

G
continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

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Case 2:15-bk-05399-FMD Doci11 Filed 06/05/15 Page 15 of 39

B6H (Official Form 6H) (12/07)

In re Kimberly Helen Wood-Staples

Case No.___9:15-bk-05399

 

Debtor

SCHEDULE H - CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name, See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

(] Check this box if debtor has no codebtors.

 

NAME AND ADDRESS OF CODEBTOR

NAME AND ADDRESS OF CREDITOR

 

Hamilton Staples

25 Medalist Way

Rotonda West, FL 33947
Debtor's Spouse

Harnilton Staples

25 Medalist Way

Rotonda West, FL 33947
Debtor's Spouse

Hamilton Staples

25 Medalist Way

Rotonda West, FL 33947
Debtor's Spouse

Hamilton Staples

25 Medalist Way

Rotonda West, FL 33947
Debtor's Spouse

0
continuation sheets attached to Schedule of Codebtors

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Pre-Fab City, Inc.
11 Cedar Pond Lane
Poughkeepsie, NY 12601

Robert Hankin
11 Cedar Pond Lane
Poughkeepsie, NY 12601

Hollowbrock & Associates
efo Robert Hankin

11 Cedar Pond Lane
Poughkeepsie, NY 12601

Englewood Bank & Trust
1111S. McCall Road
Englewood, FL 34223

Best Case Bankruptcy
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Kimberly Helen Wood-Staples

 

{Spouse, it filing)

United States Bankruptcy Court forthe: MIDDLE DISTRICT OF FLORIDA

 

Case number 9:15-bk-05399 Check if this is:
(lf known} (C] An amended filing

[1 A supplement showing post-petition chapter
13 income as of the following date:

Official Form B 6l MM/DDIYYYY
Schedule I: Your Income 42113

Be as complete and accurate as possible. if two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form, On the top of any additional pages, write your name and case number (if known). Answer every question.

 

 

 

 

 

| Describe Employment

 
   

1. Filkin your employment

 

 

 

information. Meotor. oF
If you have mare than one job, Ei Employed Hi Employed
attach a separate page with Employment status o o
information about additional Not employed Not employed
employers. . .
Occupation Part-Time Employee Self-Employed
Include part-time, seasonal, or : . . ;
self-employed work, Employer's name Blue Oval Classics Hamilton Staples Contracting
Occupation may include student Employer's address = Ay 5.3459 23 Medalist Way
or homemaker, ifit applies. Placida, FL 33946 Rotonda West, FL 33947
How fong employed there? & Months Self Employed

 

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

 

 

List monthiy gross wages, salary, and commissions (before all payroll

 

 

 

2. deductions). If not paid monthly, calculate what the monthly wage would be. 20 $ 866.67 § 0.00
3. Estimate and Hist monthly overtime pay. 3. +8 0.00 +3 0.00
4. Calculate gross Income. Add line 2 + line 3, 4. | 5 866.67 $ 0.00

 

 

 

 

 

Official Form B 6 Schedule I: Your Income page I
Case 2:15-bk-05399-FMD Doci11 Filed 06/05/15 Page 17 of 39

Debtor? Kimberly Helen Wood-Staples Case number (it known) —9:75-bk-05399

 

 

 

Copy line 4 here 4. $866.67 $ 0.00

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5. List all payroll deductions:
5a, Tax, Medicare, and Social Security deductions 5a. $ 134.20 $ 6.60
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $ 0,00
Sc. Voluntary contributions for retirement plans 5c. § 0.00 $ 0.00
5d. Required repayments of retirement fund loans 5d. § 0.00 § 0.00
Se. insurance 5e, $ 0.00 §$ 6.00
Sf. Domestic support obligations Sf 0.00 3 0.00
5g. Union dues 5g. § 0.00 $ 0.00
5h. Other deductions. Specify: Shit $ 0.00 + § 0.00
Add the payroll deductions. Add lines 5a+5b+5c+5d+5et5f+Sg+5h. 6 § 134.20 $§ 0.00
Catculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 732.47 = § 0.00
List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. ga, § 0.00 $ 742.34
8b, Interest and dividends &b. $ 0.00 $ 0.00
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. &c. § 0.00 $ 0.00
8d. Unemployment compensation éd.  § 6.00 $§ 0.00
8e. Social Security 8e. § 0.00 § 0.00
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies,
Specify: Sf. § 0.00 &$ 6,00
8g. Pension or retirement income 8g. $ 0.00 $ 0.00
8h. Other monthly income. Specify: 8h+ § 0.00 + § 0.00
9. Add all other income. Add lines 8a+8b+8c+8d+8e+8f-8g+8h. g$. |$ 9.00] |§ 742.34
10. Calculate monthly income. Add line 7 + line 9. 10. |$ 732.47 | +|$ 742.34 /*|5 1,474.81

 

 

 

 

 

 

Add the entries in fine 10 for Debtor 1 and Debtor 2 or non-filing spouse.

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried pariner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in fines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11, 4% 0.00

 

42. Add the amountin the last column of line 10 to the amount in Hine 14. The result is the combined monthly income.

Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
applies 12.| 3 1,474.81

 

 

 

Combined
monthly income
13. Do you expect an increase or decrease within the year after you file this form?

Ei No.

 

og Yes. Explain: |

 

Official Form B 61 Schedule k: Your Income page 2
Case 2:15-bk-05399-FMD Doci11 Filed 06/05/15 Page 18 of 39

Fe es eaIE BCH ein sy

 

 

 

 

Debtor 1 Kimberly Helen Wood-Staples Check if this is:

fC] An amended filing
Debtor 2 ) Asupplement showing post-petition chapter
(Spouse, if filing) 13 expenses as of the following date:
United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA MM/DDIYYYY
Case number 9:15-bk-05399 LJ A-separate fiting for Debtor 2 because Debtor
{IF known) 2 maintains a separate household

 

 

Official Form B 6J
Schedule J: Your Expenses 12/13

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

  

Route) Describe Your Household
1. Is this a joint case?
EI No. Go to line 2.
(C Yes. Does Debter 2 live in a separate household?
0 No
CD Yes. Debtor 2 must file a separate Schedule J.

2. Doyouhave dependents? () No

 

 

 

 

 

Do not fist Debtor 1 Hl Yes. Fill out this information for Dependent’s relationship to Dependent’s Does dependent
and Debtor 2. "each dependent.............. Debtor 7 or Debtor 2 age live with you?
Do not state the DNo
dependents’ names. Daughter 9 El Yes
CINo
Son 14 | Yes
CINo
Daughter 16 i Yes
CINo
O Yes
3. Bo your expenses include EE No

expenses of people other than

yourself and your dependents? QO Yes

 

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Forrn 61.)

 

 

4. The rental or home ownership expenses for your residence. Include first mortgage

payments and any rent for the ground or lot. 8 0.00

lf not included in line 4:

4a, Real estate taxes 4a. $ 260.00

4b. Property, homeowner's, or renters Insurance 4b. $ 400.00

4c. Home maintenance, repair, and upkeep expenses 4c. $ 460.00

4d. Homeowner's asscciation or condominium dues 4d. $ 0,00
5. Additional mortgage payments for your residence, such as home equily loans §. $ 0.00

Official Form B 6J Schedule J: Your Expenses page f
Case 2:15-bk-05399-FMD Doci11 Filed 06/05/15 Page 19 of 39

 

 

Debtor? Kimberly Helen Wood-Staples Case number (ifknown) 9: 15-bk-05399
6. Utilities:
6a. Electricity, heat, natural gas 6a. $ 150.00
6b. Water, sewer, garbage collection 6b. $ 120.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 300.00
6d. Other, Specify: 6d, 3 0.00
7. Food and housekeeping supplies 7. $ 400.00
8.  Chifdcare and children’s education costs &. § 0.00
9. Clothing, laundry, and dry cleaning 9. $ 50.00
10. Personal care products and services 10. $ 65.00
11. Medical and dental expenses 11. §$ 0.00
12. Transportation. include gas, maintenance, bus or train fare.
Do not | include car payments, 12. 3 300.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 0.00
14. Charitable contributions and religious donations 14. $ 0.00

15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

 

 

 

 

 

 

 

 

 

 

15a. Life insurance 15a. $ 0.00
15b. Health insurance 15b. $ 0.00
15c. Vehicle insurance i6c. $ 0.00
15d. Other insurance. Specify: 15d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or Included in lines 4 or 20.
Specify: Monthly Property Taxes on 1152 Rotunda Circle 16. $ 40.00
17. Installment or lease payments:
17a, Car payments for Vehicle 1 17a. $ 0.00
17b. Car payments for Vehicle 2 17b. § 0.00
17c. Other. Specify: 17c. $ 0.00
17d. Other. Specify: 17d. $ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule |, Your Income (Official Form 6l). 18. $ 0.00
19. Other payments you make to support others who do not live with you. $ 0.00
Specify: 49.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your income.
20a. Mortgages on other property 20a. $ 0.00
20b, Real estate taxes 20b. §$ 0.00
20c. Property, homeowner's, or renter’s insurance 20c. § 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner's association or condominium dues 20e. $ 25.00
21. Other: Specify: 21. +3 0,00
22. Your monthly expenses. Add lines 4 through 21. 22,.| $ 1,910.00
The result is your monthly expenses.
23. Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule 1. 23a. $ 1,474.81
23b. Copy your monthly expenses from line 22 above. 23b. -$ 1,910.00
23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income. y 23c, | 4 -435.19

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your morigage payment to increase or decrease because of &
modification to the terms of your mortgage?

E@ No.

 

D Yes.
Explain:

 

 

 

Official Form B 6J Schedule J: Your Expenses page 2
Case 2:15-bk-05399-FMD Doci11 Filed 06/05/15 Page 20 of 39

B6 Declaration (Official Form 6 - Declaration). (12/07)
United States Bankruptcy Court
Middle District of Florida

Inre _ Kimberly Helen Wood-Staples Case No. 9:15-bk-05399
Debtor(s) Chapter 13

 

 

DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of __ 19
sheets, and that they are true and correct to the best of my knowledge, information, and belief.

Date (o| | LOWS Signature (

 

 

Debtor

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

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Case 2:15-bk-05399-FMD Doci11 Filed 06/05/15 Page 21 of 39

B7 (Official Form 7) (04/13)

United States Bankruptcy Court
Middle District of Florida

Inre _ Kimberly Helen Wood-Staples Case No, 9:15-bk-05399
Debtor(s) Chapter 13

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined, Ifthe case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs, Te indicate payments, transfers and the like to minor children, state the child’s initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian.” Do not disclose the child's name. See, 11
ULS.C. § 112; Fed. R. Bankr. P. 1007(m).

Questions ] - 18 are to be completed by ali debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

DEFINITIONS

"In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time, An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

"Insider." The term “insider” includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C, § 101(2), (31).

 

1. Income from employment or operation of business

None State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
o business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) Ifa joint petition is filed, state income for
each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE

$3,466.66 2015 Gross Wages (Jan-April} - Debtor
$20,257.00 2015 Gross Business Income (Jan-April} - Spouse
$19,302.00 2014 AGI Joint Return

$29,766.00 2013 AGI Joint Return

 

2. Income other than from employment or operation of business

None State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
Ea during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE

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Case 2:15-bk-05399-FMD Doci11 Filed 06/05/15 Page 22 of 39

B7 (Official Form 7) (04/13)
2

 

3. Payments to creditors
None — Compiete a. or b., as appropriate, and c.

a. Individual or joint debtorts) with primarily consumer debts: List all payments on loans, installment purchases of goods or
services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
ageregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
not filed.)

NAME AND ADDRESS DATES OF AMOUNT STILL
OF CREDITOR PAYMENTS AMOUNT PAID OWING

None ob. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
Ei immediately preceding the commencement of the case unless the aggregate value ofall property that constitutes or is affected by such
transfer is less than $6,225". If the debtor is an individual, indicate with an asterisk {*) any payments that were made to a creditor on
account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not

filed.)
AMOUNT
DATES OF PAID OR
PAYMENTS/ VALUE OF AMOUNT STILL
NAME AND ADDRESS OF CREDITOR TRANSFERS TRANSFERS OWING

None ¢. All debtors; List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
B creditors who are or were insiders, (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed)

NAME AND ADDRESS OF CREDITOR AND AMOUNT STILL
RELATIONSHIP TO DEBTOR DATE OF PAYMENT AMOUNT PAID OWING

 

4. Suits and administrative proceedings, executions, garnishments and attachments

None a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
Oo this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information conceming either or both spouses
whether or not 4 joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT NATURE OF COURT OR AGENCY STATUS OR
AND CASE NUMBER PROCEEDING AND LOCATION DISPOSITION
PreFab City, Inc., v. Raya Lee Corp; Hamilion Civil Suit: Orange County, New York Pending
Staples; & Kimberly Wood-Staples Foreclosure

2010-006203

Englewood Bank & Trust v. Hamilton Staples, Civil Suit: Charlotte County Pending
Kimberly Wood-Siaples Foreclosure

15-CA-00752

None —_&. Describe all property that has been attached, garnished or seized under any legal or equitable process within ene year immediately
a preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
property of either or both spouses whether or not 4 joint petition is filed, unless the spouses are separated and a joint petition is not

filed.)
NAME AND ADDRESS OF PERSON FOR WHOSE DESCRIPTION AND VALUE OF
BENEFIT PROPERTY WAS SEIZED DATE OF SEIZURE PROPERTY

* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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5, Repossessions, foreclosures and returns

None List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
| retumed to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

DATE OF REPOSSESSION, ‘
NAME AND ADDRESS OF FORECLOSURE SALE, DESCRIPTION AND VALUE OF
CREDITOR OR SELLER TRANSFER OR RETURN PROPERTY

 

6. Assignments and receiverships

None a, Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
| this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

DATE OF
NAME AND ADDRESS OF ASSIGNEE ASSIGNMENT TERMS OF ASSIGNMENT OR SETTLEMENT
None __b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
ee preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)
NAME AND LOCATION
NAME AND ADDRESS OF COURT DATE OF DESCRIPTION AND VALUE OF
OF CUSTODIAN CASE TITLE & NUMBER ORDER PROPERTY
7. Gifts

None List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
B and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

NAME AND ADDRESS OF RELATIONSHIP TO DESCRIPTION AND
PERSON OR ORGANIZATION DEBTOR, IF ANY DATE OF GIFT VALUE OF GIFT
8. Losses

None List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
Ea since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE LOSS WAS COVERED IN WHOLE OR IN PART
OF PROPERTY BY INSURANCE, GIVE PARTICULARS DATE OF LOSS

 

9, Payments related to debt counseling or bankruptcy

None List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation

Oo concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
preceding the commencement of this case.
DATE OF PAYMENT, AMOUNT OF MONEY
NAME AND ADDRESS NAME OF PAYER IF OTHER OR DESCRIPTION AND VALUE
OF PAYEE THAN DEBTOR OF PROPERTY

Martin Law Firm, P.L. 5/20/15 Attorney's Fees: $1,500
3701 Dei Prado Blvd 8. Filing Fee: $310
Cape Coral, FL 33904 Credit Report: $33

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4
DATE OF PAYMENT, AMOUNT OF MONEY
NAME AND ADDRESS NAME OF PAYER IF OTHER OR DESCRIPTION AND VALUE
OF PAYEE THAN DEBTOR OF PROPERTY
Debthelper.com 5/21/15 Credit Counseling: $24
1325 N. Congress Avenue
Suite 201

West Palm Beach, FL 33401

 

10. Other transfers

None a, List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
CJ transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE, DESCRIBE PROPERTY TRANSFERRED
RELATIONSHIP TO DEBTOR DATE AND VALUE RECEIVED
Ira Rosenblum September 2014 2000 Ford Excursion
Value Received: $1,500

None
William & Hasbroock November 2013 Real Property Located at:
New Windsor, NY 12553 85 Oakwood Terrace

None New Windsor, NY 12553

Value Received: $25,000

None — b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled

EA trust or similar device of which the debtor is a beneficiary.
NAME OF TRUST OR OTHER AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE DATE(S) OF VALUE OF PROPERTY OR DEBTOR'S INTEREST
TRANSFER(S) IN PROPERTY

 

11. Closed financial accounts

None List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
CJ otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed.)

TYPE OF ACCOUNT, LAST FOUR

DIGITS GF ACCOUNT NUMBER, AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION AND AMOUNT OF FINAL BALANCE OR CLOSING
Englewood Bank & Trust Englewood Checking xx4383 Account was closed out
1171 South McCall Road January 2015

Englewood, FL 34223

 

12. Safe deposit boxes

None List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
gi immediately preceding the commencement of this case, (Married debtors filing under chapter 12 or chapter 13 must include boxes or
depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)

NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK. OF THOSE WITH ACCESS DESCRIPTION DATE OF TRANSFER OR

OR OTHER DEPOSITORY TO BOX OR DEPOSITORY OF CONTENTS SURRENDER, IF ANY

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13. Setofts
None List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
a commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATE OF SETOFF AMOUNT OF SETOFF

 

14. Property held for another person

None —_List all property owned by another person that the debtor holds or controls.
ee

NAME AND ADDRESS CF OWNER DESCRIPTION AND VALUE OF PROPERTY LOCATION OF PROPERTY

 

15. Prior address of debtor

None If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
Ea occupied during that period and vacated prior to the commencement of this case. Ifa joint petition is filed, report also any separate
address of either spouse.

ADDRESS NAME USED DATES OF OCCUPANCY

 

16. Spouses and Former Spouses

None —-}f the debtor resides or resided in 2 community property state, commonwealth, or territory (including Alaske, Arizona, California, Idaho,
es Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
the community property state.

NAME

 

17. Environmental Information.
For the purpose of this question, the following definitions apply:

"Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not Hmited to,
statutes or regulations regulating the cleanup of these substances, wastes, or material.

"Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
operated by the debtor, including, but not limited to, disposal sites.

"Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
pollutant, or contaminant or similar term under an Environmental Law

None a, List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
Fe) or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
the Environmental Law:

NAME AND ADDRESS OF DATE OF ENVIRONMENTAL
SITE NAME AND ADDRESS GOVERNMENTAL UNIT NOTICE LAW
None _b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
Be Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
NAME AND ADDRESS OF DATE OF ENVIRONMENTAL
SITE NAME AND ADDRESS GOVERNMENTAL UNIT NOTICE LAW

None cc, List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
@ the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
docket number.

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6
NAME AND ADDRESS OF
GOVERNMENTAL UNIT DOCKET NUMBER STATUS OR DISPOSITION
18 . Nature, location and name of business
None a, if the debtor is an individuai, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
QO ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, pariner in a
partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
within six years immediately preceding the commencement of this case.
ifthe debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
years immediately preceding the commencement of this case.
Ifthe debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
years immediately preceding the commencement of this case.
LAST FOUR DIGITS OF
SOCIAL-SECURITY OR
OTHER INDIVIDUAL
TAXPAYER-LD, NO. BEGINNING AND
NAME (ITINY COMPLETE EIN ADDRESS NATURE OF BUSINESS ENDING DATES
Kyra Corp. XX-XXXXXXX 25 Medalist Way Land Holding Company Formed in 2002;
Rotonda West, FL 33947 Debtor became owner
in 2006; Currently
Active in NY State
8501 Placid Rd Corp.  xx2540 8501 Placida Road Restaurant September 2010 -
dba Reef Grill Placida, FL 33946 September 2011
Summer/Kim Corp NY DOS ID #2768287 10 Cedar Pond Lane Land Holding Company May 2602; Currently
Poughkeepsie, NY 12607 Active in NY State
None b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
Ls
NAME ADDRESS

 

The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed im a trade, profession, or other activity, either full- or part-time.

(An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.}

 

19. Books, records and financial statements

None —_g, List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
a supervised the keeping of books of account and records of the debtor.
NAME AND ADDRESS DATES SERVICES RENDERED
None __b. List ail firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
B of account and records, or prepared a financial statement of the debtor.
NAME ADDRESS DATES SERVICES RENDERED

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None c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
oO of the debtor. If any of the books of account and records are not available, explain.
NAME ADDRESS
Kimberly Helen Wood-Staples 25 Medalist Way
Rotonda West, FL 33947
None di. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
LE] issued by the debtor within two years immediately preceding the commencement of this case.
NAME AND ADDRESS DATE ISSUED
20, Inventories
None a, List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
a and the dollar amount and basis of each inventory.
DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY INVENTORY SUPERVISOR (Specify cost, market or other basis)
None _ List the name and address of the person having possession of the records of each of the inventories reported in a., above.
BZ
NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY RECORDS
21. Current Partners, Officers, Directors and Shareholders
None a, If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
NAME AND ADDRESS NATURE OF INTEREST PERCENTAGE OF INTEREST
None __ b, If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
Oo controls, or holds 5 percent or more of the voting or equity securities of the corporation.
NATURE AND PERCENTAGE
NAME AND ADDRESS TITLE OF STOCK OWNERSHIP
Kimberly Helen Wood-Staples Owner of Kyra Corp. 400% Owner of Kyara Corp.

25 Medalist Way
Rotenda West, FL 33947

Kirnberly Helen Wood-Staples Partial Owner 50% Owner in Summer/Kim Corp.
25 Medalist Way
Rotonda West, FL 33947

Robert Hankin Partial Owner 50% Owner in Summer/Kim Corp.
PO Box 449
Highland Mills, NY 10930

 

22 . Former partners, officers, directors and shareholders

None a, If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the

a commencement of this case.
NAME ADDRESS DATE OF WITHDRAWAL
None by, If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
2) immediately preceding the commencement of this case.
NAME AND ADDRESS TITLE DATE OF TERMINATION

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23 .. Withdrawals from a partnership or distributions by a corporation
None —_[f the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
a in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
commencement of this case.
NAME & ADDRESS AMOUNT OF MONEY
OF RECIPIENT, DATE AND PURPOSE OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR OF WITHDRAWAL VALUE OF PROPERTY
24. Tax Consolidation Group.
None If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
Al group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
of the case.
NAME OF PARENT CORPORATION TAXPAYER IDENTIFICATION NUMBER (EIN)
25. Pension Funds.
None If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
g employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.
NAME OF PENSION FUND TAXPAYER IDENTIFICATION NUMBER (EIN)

eK ok

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto

and that they are true and correct.

Date (¢| (| WG Signature
an, | Kimberly Helen Wéod-Staples T
Debtor

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 357]

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B 201A (Form 201A) (6/14)

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
OF THE BANKRUPTCY CODE

In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal! advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies

With limited exceptions, § 109(h) of the Bankruptcy Code requires that ail individual debtors whe file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing, The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies, Each debtor ina
joint case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total Fee $335)

Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. Hf your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, ifa creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,

$75 administrative fee: Total Fee $310)
Chapter 13 is designed for individuals with regular income who would like to pay ail or part of their debts in installments over

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B 201B (Form 201B) (12/09)
United States Bankruptcy Court
Middle District of Florida

Inre —_ Kimberly Helen Wood-Staples Case No. 9:15-bk-05399
Debtor(s) Chapter 13

 

 

CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
UNDER § 342(b) OF THE BANKRUPTCY CODE

Certification of Debtor

 

 

I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Kimberly Helen Wood-Staples ~/. hedv pls fhe b | Y i LOLS
Printed Name(s) of Debtor(s) Signature of oe U Date /
Case No. (ifknown) 9:15-bk-05399 4

 

 

Signature of Joint Debtor (if any) Date

 

Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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Form B 201A, Notice to Consumer Debtor(s} Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Cade.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total Fee $1,717)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 32: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total Fee $275)

Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penaity of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to 2 fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition, Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at

http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

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United States Bankruptcy Court
Middle District of Florida

Inre _Kimberly Helen Wood-Staples Case No. _9:15-bk-05399
Debtor(s) Chapter 13

VERIFICATION OF CREDITOR MATRIX

The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.

Date: (2 | ul Ww talus

intberly Helen\Wood- ab-f ef
sli of Debtor

I, Eviana J. Martin 36198 , counsel for the petitioner(s) in the above-styled bankruptcy action, declare that the attached
Master Address List consisting of _1__ page(s) has been verified by comparison to Schedules D through H to be complete, to the best
of my knowledge. I further declare that the attached Master Address List can be relied upon by the Clerk of Court to provide notice to
all creditors and parties in interest as related to me by the debtor(s) in the above-styled bankruptcy action until such time as any
amendments may be made.

Date:

 

 

Signature of Attorney

Eviana J. Martin 36198

Martin Law Firm, P.L.

3701 Del Prado Blvd.

Cape Coral, FL 33904
239-443-1094 Fax: 239-443-1168

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Kimberly Helen Wood-Staples
25 Medalist Way
Rotonda West, FL 33947

Eviana J. Martin

Martin Law Firm, P.L.
3701 Del Prado Bivd.
Cape Coral, FL 33904

Calvary Portfolio Svcs

Att: Bankruptcy Dept

500 Summit Lake Dr. Ste 400
Valhalla, NY 10595

Charlotte County Tax
Collector

18500 Murdock Circle
Port Charlotte, FL 33948

Comcast
PO Box 413018
Naples, FL 34101-9984

Direct TV
PO Box 78626
Phoenix, AZ 85062

Englewood Bank & Trust
1111 S. McCall Road
Englewood, FL 34223

Englewood Bank and Trust
Frohlich Gordon & Beason
148501 Murdock Circle

Suite 103

Port Charlotte, FL 33948

Enhanced Recovery Corp
Attention: Client Services
8014 Bayberry Rd
Jacksonville, FL 32256

ER Solutions

Convergent Outsourcing, Inc.
PO Box 9004

Renton, WA 98057

Greentree Servicing
PO Box 6172
Rapid City, SD 57709

Hollowbrock & Associates
cio Robert Hankin

11 Cedar Pond Lane
Poughkeepsie, NY 12601

Hollowbrock Associates
cfo Robert Hankin

11 Cedar Pond Lane
Poughkeepsie, NY 12601

Household Finance Corp il
clo Girvin & Ferlazzo

20 Corporate Woods Blvd
Middletown, NY 10940

Household Finance Corp. Il
Dunning Farms Shopping Cir
Middletown, NY 10940

HSBC
PO Box 60167
City Of Industry, CA 91716

Hudsn Heritage Credit Union
25 Rykowski Ln
Middletown, NY 10941

Hudson Heritage FCU
20 Orchard
Middletown, NY 10940

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Jpm Chase
Po Box 24696
Columbus, OH 43224

Pre-Fab City, Inc.
11 Cedar Pond Lane
Poughkeepsie, NY 12601

Pre-Fab City, Inc.
cio Benjamin Ostrer
111 Main Street
PO Box 509
Chester, NY 10918

Rober Hankin
PO Box 449
Highland Mills, NY 10930

Robert Hankin
41 Cedar Pond Lane
Poughkeepsie, NY 12607

Rotunda West Association
3754 Cape Haze Drive
Rotonda West, FL 33947
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heck as:dirécte EIS ate ea ee
According to the calculations required by this
Debtor 1 Kimberly Helen Wood-Staples Statement ‘ "
Debtor 2 _ 1. Disposable income is not determined under
(Spouse, if filing) 11 U.S.C. § 1325(b)(3).
. ; C1 2. Disposable income is determined under 11
United States Bankruptcy Court for the: Middle District of Florida U.S.C. § 1225(b)(3).
Case number 9:15-bk-05399 & 3. The commitment period is 3 years.
(if known)

C1 4. The commitment period is 5 years.

 

 

 

 

 

 

C] Check if this is an amended filing

Official Form 22C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period 12114

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

 

 
 

Calculate Your Average Monthly Income

 

1. Whatis your marital and filing status? Check one only.
( Not married, Fill out Column A, lines 2-14.

EA Married. Fill out both Columns A and B, lines 2-11.

Fill in the average monthly income that you received from ail sources, derived during the 6 full months before you file this bankruptcy
case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through Auqust 31. if the amount
of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result, Do not include any
income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only.
If you have nothing to report for any line, write $0 in the space.

 

Column A Column B
Debtor 1 Debtor 2 or
non-filiag spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before

 

 

 

 

 

 

 

 

 

 

 

ail payroll deductions). 866.67 § 0.00
3. Alimony and maintenance payments. Do not include payments from a spouse if

Column B is filled in. 0.00 § 0.00
4. Ailamounts from any source which are regularly paid for household expenses

of you or your dependents, including child support. Include regular contributions

from an unmarried pariner, members of your household, your dependents, parents,

and roommates. Include regular contributions from a spouse only if Column B is not 0.00 0.0

filled in. Do not include payments you listed on line 3. : $ -00
5. Net income from operating a business, profession, or farm

Gross receipts (before all

deductions) 0.00 § 4,365.67

Ordinary and necessary

operating expenses “5 0.00 -$ 3,823.33

Net monthly income from a Copy

business, profession, or farm 0.00 § 742.33 here > § 0.00 § 742.33
6. Net income from rental and other real property

Gross receipts (before all deductions) $ 9.00

Ordinary and necessary operating expenses $0.00

Net monthly income from rental or other real property $ ___0.00 Copy here > $ 0.00 § 0.00

Official Form 22C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 4

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Debtor1 Kimberly Helen Wood-Staples Case number (ifknown) —9:15-bk-05399
Coum A...) Column Bo
Debtor 1 Debtor 2 or
. non-filing spouse
7. Interest, dividends, and royalties $ 0.00 § 0.00
8. Unemployment compensation $ 0.00 $§ 0.00

 

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list it here:

For you & 0.00
For your spouse $ 0.00

9. Pension or retirement income. Do not include any amount received that was a 0.00 0.00
benefit under the Social Security Act. $ : $ :

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Securify Act or payments
received as a victim of a war crime, a crime against humanity, or international or
domestic terrorism. If necessary, list other sources on a separate page and put the
total on line 10c.

 

 

 

 

10a. $ 6.00 4 0.00
40b. $ 0.00 $ 0.00
10c. Total amounts from separate pages, if any. + $ 0.00 § 0.00

 

 

11. Calculate your total average monthly income. Add lines 2 through 10 for
each column. Then add the total for Column A to the total for Column B. $ 866.67 [415 742.33

$ 1,609.00

 

 

 

 

 

 

 

 

Total average
monthly income

Determine How to Measure Your Deductions from Income

 

 

12. Copy your total average monthly income from line 11. $ 1,609.00
43, Calculate the marital adjustment. Check one:

O You are not married. Fill in 0 on line 3d.
[J You are married and your spouse is filing with you. Fill in 0 in line 13d.

f You are married and your spouse is not filing with you.

Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.

in lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
adjustments on a separate page.

If this adjustment does not apply, enter 0 on line 13d.

 

 

 

 

 

 

 

 

 

13a. $

13b. $

136. +5

13d. Totai $ 0.00 Copy here=> 13d... 0.00
14. Your current monthly income. Subtract line 13d from tine 12. 14. |$ 1,609.00

 

 

 

 

15. Calculate your current monthly income for the year. Follow these steps:

 

 

 

 

 

 

 

 

15a. Copy line 14 here=> 16a. g 4,609.00
Multiply line 15a by 42 (the number of months in a year}. x 12
15b. The result is your current monthly income for the year for this part of the form. 15b./$ 19,308.00
Official Form 22C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 2

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Case 2:15-bk-05399-FMD Doci11 Filed 06/05/15 Page 36 of 39

Debtorr1 Kimberly Helen Wood-Staples Case number (if known) 9:15-bk-05399

 

16. Calculate the median family income that applies to you. Follow these steps:

 

16a. Fill in the state in which you live. FL
16b. Fill in the number of people in your household. 5
16c. Fill in the median family income for your state and size of household. 46c. § 75,639.00

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

17a. [MM Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 22C-2).

17b. [1 Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 22C-2). On line 39 of that form, copy your
current monthly income from line 14 above.

Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)

 

18, Copy your total average monthly income from line 11. 18. $ 1,609.00

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
spouse's income, copy the amount from line 13d.

 

If the marital adjustment does not apply, fill in 0 on line 19a. 19a.-$ 0.00
Subtract line 19a from line 18. 19b. |$ 1,609.00

 

 

 

20. Calculate your current monthly income for the year. Follow these steps:

20a. Copy line 19b 20a. ¢§ 1,609.00

 

 

 

Multiply by 12 (the number of months in a year). x 12
20b. The result is your current monthly income for the year for this part of the form 20b. |$ 19,308.00
20c. Copy the median family income for your state and size ofhousehold fromline 16c_ $ 75,639.00

 

 

 

21. How do the lines compare?

H Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
period is 3 years. Go to Part 4.

0 Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
commitment period is 5 years. Go to Part 4.

Sign Below

 

  

Signature of rh, 1

pate (914 |72019
MM|DD )YYYY
If you checked 17a, do NOT fill out or file Form 22C-2.

If you checked 17b, fill out Form 22C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.

 

 

 

Official Form 22C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 3
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Debtor1 Kimberly Helen Wood-Staples Case number (ifknown) —9:15-bk-05399

Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 11/01/2014 to 04/30/2015.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Blue Oval Wages
Constant income of $866.67 per month.

Official Form 22C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 4
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Debtor1 Kimberly Helen Wood-Staples

Case number (if known)

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Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:

Income for the Period 11/01/2014 to 04/30/2015.

Line 5 - Income from operation of a business, profession, or farm
Source of Income: Business Income
Income/Expense/Net by Month:

6 Months Ago:
5 Months Ago:
4 Months Ago:
3 Months Ago:
2 Months Ago:

Last Month:

Official Form 22C-4
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Date Income Expense Net
11/2014 $3,756.00 $2,847.00 $903.00
12/2014 $2,187.00 $1,589.00 $598.00
01/2015 $1,977.00 $1,156.00 $821.00
02/2015 $594.00 $1,287.00 $-693,00
03/2015 $16,200.00 $13,745.00 $2,455.00
04/2015 $1,486.00 $1,116.00 $370.00
Average per month: $4,365.67 $3,623.33
Average Monthly NET Income: $742.33
Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 5

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